
















In The


Court of Appeals


Sixth Appellate District of Texas at Texarkana



______________________________



No. 06-01-00174-CR


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ROBERT RAY MAGGARD, Appellant



V.



THE STATE OF TEXAS, Appellee




                                              


On Appeal from the 228th Judicial District Court


Harris County, Texas


Trial Court No. 755608




                                                 




Before Cornelius, C.J., Grant and Ross, JJ.


Opinion by Chief Justice Cornelius



O P I N I O N



	Robert Ray Maggard pleaded guilty to aggravated sexual assault of a child.  The trial court
sentenced him to forty years' imprisonment on December 18, 1997.  Maggard did not file a motion
for new trial; therefore, his notice of appeal was due by January 20, 1998, or with a proper request
for an extension, by February 4, 1998.  Tex. R. App. P. 26.2(a)(1), 26.3.  Maggard did not file a
notice of appeal.

	On August 15, 2001, Maggard filed a motion for out of time appeal in the district court,
which was assigned to the First Court of Appeals.  The First Court of Appeals docketed the case, but
the matter was transferred to this Court pursuant to an order from the Texas Supreme Court.

	Because Maggard did not file a timely notice of appeal, we lack jurisdiction.  Olivo v. State,
918 S.W.2d 519, 522 (Tex. Crim. App. 1996). (1)  

	The appeal is dismissed for want of jurisdiction.


							William J. Cornelius

							Chief Justice


Date Submitted:	November 8, 2001

Date Decided:		November 8, 2001


Do Not Publish
1. In Olivo, the Texas Court of Criminal Appeals noted that the denial of a meaningful appeal
because of ineffective assistance of counsel is a proper ground for habeas corpus relief.  Olivo v.
State, 918 S.W.2d 519, 525 n.8 (Tex. Crim. App. 1996); see also Tex. Code Crim. Proc. Ann. art.
11.07 (Vernon Supp. 2001).


